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                                 UNITED STATES DISTRICT COURT                            6/27/2022
                                 WESTERN DISTRICT OF VIRGINIA
                                          LYNCHBURG DIVISION


  UNITED STATES OF AMERICA
                                                        CASE NO. 6:22-cv-00028


                                                        ORDER
                            v.

  ENVIGO RMS, LLC,                                      JUDGE NORMAN K. MOON

                                    Defendant.


       In its preliminary injunction Order, dated June 17, 2022, the Court found that

extraordinary relief was warranted to address Defendant’s failure to meet its obligations under

the Animal Welfare Act to provide humane treatment to the animals housed in Defendant’s

breeding facility in Cumberland, Virginia. But based on Defendant’s representation that it was

prepared to transfer “more than 500 dogs” pursuant to existing contracts “within the next 30

days,” Dkt. 18 p. 5, the Court also concluded that the balance of equities did not support

extending the injunction to prevent Defendant from fulfilling its existing contracts. The Court

observed that enjoining Defendant from fulfilling these contracts was not clearly tailored to

preventing further irreparable harm because “[i]t stands to reason that for every animal that

leaves the facility, whether it be by sale or adoption, there is one fewer animal that can be

harmed by the facility’s AWA violations.” Dkt. 21 p. 5. The Court ended its Order by directing

the parties to confer and inform the Court, by 5:00 p.m. on June 22, 2022, of their plan for

transferring all remaining animals out of the Cumberland facility. Dkt. 18 p. 8. 1


       1
       The deadline was extended to 5:00 p.m. on June 24, 2022, by oral order granting the
Government’s motion for an extension of time. See Dkt. 24.
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       The Government has notified the Court that Defendant now seeks to prefill contracts

containing delivery dates as far out as July 2023, and that it seeks to fill contracts for 2,200

animals—not the “more than 500 dogs” figure represented by Defendant’s counsel. See Dkt. 26.

pp. 1–2. The Government also informs the Court that Defendant is attempting to fill the contracts

of a separate entity, another subsidiary of Defendant’s parent company called Envigo Global

Services, Inc. See id. p. 2. Now pending before the Court is the Government’s motion for

clarification of the scope of its preliminary injunction. Having considered both parties’ briefs on

the motion, Dkts. 26, 28, the motion, Dkt. 26, is GRANTED, and the Court provides the

following clarification.

       As stated in the Court’s previous order, at this preliminary stage the Court is obligated to

tailor its relief to the prevention of irreparable harms—the relevant harms in this case being

injuries to the animals housed at the Cumberland facility arising from the facility’s AWA

violations. 2 See Roe v. Dep’t of Def., 947 F.3d 207, 231 (4th Cir. 2020) (noting the obligation of

district courts to design a preliminary injunction that is “no more burdensome to the defendant

than necessary to provide complete relief to the plaintiffs”) (quoting Madsen v. Women’s Health

Ctr, Inc., 512 U.S. 753, 765 (1994)). See also Trump v. Int.’l Refugee Assistance Project, 137 S.

Ct. 2080, 2087 (2017) (emphasizing that “[t]he purpose of such interim equitable relief is not to

conclusively determine the rights of the parties”). Thus, the Court declined to prohibit Defendant

from fulfilling existing contracts on the understanding that allowing it to do so would facilitate

the speedy exit of animals from the Cumberland facility. Cf. Dkt. 18 p. 5 (assuring Court that

Defendant “only opposes the United States’ Motion to the extent it seeks to prevent [Defendant]



       2
         As the Court noted in its previous Order, other authorities are not so limited. The
Secretary of Agriculture can seek civil penalties and revocation of Envigo’s license through an
administrative process. See 7 U.S.C. § 2149.


                                                 –2–
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from taking prudent measures to remove dogs from the facility”); Hr. Tr. 11:24–12:5 (assuring

Court that Defendant “has a plan and is prepared to transfer animals to fulfill existing contracts

that they’re already late on fulfilling” and to “work with NGOs to put dogs up for adoption”).

Because speedy exit was the loadstar of the Court’s analysis, the Court’s injunction (as

clarified here) only allows sale of animals pursuant to preexisting contracts with dates of

delivery within 30 days of the preliminary injunction order. 3 As used here, the term

“preexisting” refers to the period before May 21, 2022; the date on which the Temporary

Restraining Order was issued. See Dkt. 22 p. 3 ¶ 11.

       The Court’s Order also limited Defendant to the fulfillment of existing contracts.

Anything more would create a financial incentive for Defendant to prolong operations, an

outcome which, again, the Court designed its Order to prevent. Thus, the Court’s injunction (as

clarified here) allows sale of animals pursuant to the preexisting terms of preexisting

contracts. It does not permit fulfillment of contracts that have since been altered or

renegotiated to change material terms—e.g., by changing the date on which a purchase

order is set to be filled or by agreeing to fulfill a contract on behalf of a sister company. 4




       3
         The Court understands that Defendant has produced purchase orders for 575 beagles
housed at the Cumberland facility and scheduled for shipment within 30 days of the June 13
preliminary injunction hearing. See Dkt. 28 pp. 1–2. The preliminary injunction allows these
contracts to be fulfilled assuming they also comply with the Court’s next clarification.
       4
         The Court also clarifies, in response to the concern raised in footnote 2 of the
Government’s motion, Dkt. 26 p. 1, that the preliminary injunction’s provision requiring
Defendant to seek review and approval from the Government of any contract it seeks to fill, Dkt.
22 p. 3 ¶ 11, refers only to approval for compliance with the terms of the Court’s preliminary
injunction Order. Such approval, if secured, does not waive any right of the Government’s or
excuse any duty of Defendant’s. It is no more and no less than a prerequisite to the transfer of
animals pursuant to this Court’s preliminary injunction.


                                                –3–
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       It bears repeating that the Court’s injunction was built around Defendant’s assurances

that it is committed to the speedy shut-down of its Cumberland facility. 5 If that center of gravity

should not hold, a new determination will have to be made. Nevertheless, the Court realizes that

some time is needed for negotiations to incorporate the Court’s clarifications. The parties’ joint

motion for an extension of time, Dkt. 27, is therefore GRANTED. The parties shall have until

5:00 p.m. on June 29, 2022, to submit its joint transfer plan. Defendant’s motion for consent to

proceed with fulfilling existing orders, Dkt. 25, is DENIED as mooted by this Order.



                                               ****

       It is so ORDERED.

       The Clerk of the Court is directed to send a copy of this Order to all counsel of record.

       Entered this 27th
                    ___ day of June 2022.




       5
        The fact that many of Defendant’s customers are internationally based does not change
the Court’s analysis regarding the public interest. See Dkt. 26 p. 4.


                                                –4–
